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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISON


MRLED INC.,                                            )
                                                       )
                 Petitioner,                           )
                                                       )
                      vs.                              )
                                                       )
SOUND BRIDGE ACOUSTIC LABS, INC.,                      )      Case No.______________
                                                       )
                 Respondent.                           )




                                    [PROPOSED] ORDER

       THIS MATTER, having been commenced by Petitioner MRLED INC., by the filing of

Motion to Confirm Foreign Arbitration Award, and the Court having considered the written

submissions in support thereof and in opposition thereto; and for good cause shown,

       IT IS on this ____ day of ______________________, 2024

       ORDERED as follows:

      1. The arbitration award issued by Shenzhen Arbitration Committee (also known as

Shenzhen Court of International Arbitration (“SCIA”) on July 26, 2023, in favor of MRLED

INC. and against Sound Bridge Acoustic Labs, Inc. be and is hereby CONFIRMED pursuant to 9

U.S.C. § 207 and the Convention on the Recognition and Enforcement of Foreign Arbitral

Awards; and,

      2. A judgment in favor of MRLED INC. and against Sound Bridge Acoustic Labs, Inc. be

entered as follows:
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   (1) $169,015 for the unpaid goods sold by MRLED INC. to Sound Bridge,

   (2) penalty on the $169,015 at the rate of 0.06% per day from April 22, 2018 to full

   payment of the $169,015,

   (3) legal costs of RMB 50,000, which is the rough equivalent of $6,914.58 under current

   exchange rates as of July 26, 2024,

   (4) costs of the hearing transcript of RMB 22,000, which is the rough equivalent of

   $3,042.67 under current exchange rates as of July 26, 2024, and

   (5) the arbitration fees of RMB 69,736, which is the rough equivalent of $9,644.70 under

   current exchange rates as of July 26, 2024, advanced by the Petitioner to the SCIA.




                                                         _________________________
                                                       United States District Court Judge
